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®@AO 154 (10/03) Substitution of Attorney

UNITED STATES DISTRICT COURT

 

 

 

 

District of North Dakota
The City of Fargo CONSENT ORDER GRANTING
Plaintiff (8), SUBSTITUTION OF ATTORNEY
V.
Purdue Pharma, LLC, et al. CASE NUMBER; 3:19-cv-00139-DLH-ARS
Defendant (s),
Notice is hereby given that, subject to approval by the court, The City of Fargo substitutes
(Party (s) Name)
lan R. McLean , State Bar No, 07320 as counsel of record in
(Name of New Attomey)

place of Erik R. Johnson
(Name of Attorney (s) Withdrawing Appearance)

Contact information for new counsel is as follows:

 

 

 

 

Firm Name: Serkland Law Firm
Address: 10 Roberts Street North, P.O. Box 6017, Fargo, ND 58102-6017
Telephone: (701) 232-8957 Facsimile (701) 237-4049

E-Mail (Optional): imclean@serklandlaw.com

I consent to above substitution. Fa wae

KA
Date: \ abs, (O, Cat sah ROK

(Siguéture of Party (s)) C hy Rains

I consent to being substituted,

Date: uk LO, 20.4

 

 

Rignature of Former Attorney (s))

I consent to the above substitution. /
Date: NZ, I> Jorg 1A a

(Signature of New Attorney)
The substitution of attorney is hereby approved and so ORDERED.

Date:

 

 

Judge

[Note: A separate consent order of substitution must be filed by each new attorney wishing to enter an appearance,]

 
